    Case 1:22-cv-20925-RKA Document 1-2 Entered on FLSD Docket 03/28/2022 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                       Southern District of Florida




      Walter Coleman, Marco DiLeonardo, Matthew Fox,
                                                                    )
      and Madelyn Salzman on behalf of themselves                   )
      and all others similarly situated                             )
                                                                    )
                            Plaintiff(s)                            )
                                 v.                                 )      Civil Action No.
                                                                    )
      Burger King Corporation                                       )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
     Burger King Corporation
     c/o CT Corporation System
     1200 S. Pine Island Road
     Plantation, FL 33324




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
Case 1:22-cv-20925-RKA Document 1-2 Entered on FLSD Docket 03/28/2022 Page 2 of 2
